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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

ARTURO ORTIZ,

      Plaintiff,

v.                                                 Case No. 5:20cv264-TKW-MJF

K. JONES, et al.,

     Defendants.
______________________________/

                                        ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 3). No objections were filed. Upon due consideration of

the Report and Recommendation and the case file, I agree with the magistrate

judge’s determination that this case should be dismissed pursuant to 28 U.S.C.

§1915A(b)(1) based on Plaintiff’s failure to disclose his litigation history.

      Accordingly, it is ORDERED that:

      1.     The Report and Recommendation is adopted and incorporated by

             reference in this Order.

      2.     This case is DISMISSED pursuant to 28 U.S.C. §1915A(b)(1).

      3.     The Clerk shall close the file.
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DONE and ORDERED this 2nd day of November, 2020.

                        T. Kent Wetherell, II
                       T. KENT WETHERELL, II
                       UNITED STATES DISTRICT JUDGE




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